                    Case 17-43213                 Doc 1       Filed 10/25/17 Entered 10/25/17 13:06:42                               Desc Main
                                                                Document     Page 1 of 10
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MINNESOTA, MINNEAPOLIS DIVISION

Case number (if known)                                                         Chapter you are filing under:
                                                                                Chapter 7
                                                                               Chapter 11
                                                                                Chapter 12
                                                                                Chapter 13                                        Check if this an amended
                                                                                                                                    filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                       12/15
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,”the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all
of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.


Part 1:    Identify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on       Donald
     your government-issued          First name                                                      First name
     picture identification (for
     example, your driver's          Andrew
     license or passport).           Middle name                                                     Middle name
     Bring your picture
     identification to your meeting
                                    Driggs
     with the trustee.              Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal               xxx-xx-9060
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                                 Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 1
                    Case 17-43213           Doc 1         Filed 10/25/17 Entered 10/25/17 13:06:42                                Desc Main
                                                            Document     Page 2 of 10
Debtor 1   Driggs, Donald Andrew                                                                       Case number (if known)




                                 About Debtor 1:                                                About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have      I have not used any business name or EINs.                     I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                               Business name(s)
     doing business as names

                                 EINs                                                           EINs




5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                 2925 Casco Point Rd
                                 Wayzata, MN 55391-9412
                                 Number, Street, City, State & ZIP Code                         Number, Street, City, State & ZIP Code

                                 Hennepin
                                 County                                                         County

                                 If your mailing address is different from the one              If Debtor 2's mailing address is different from yours, fill it in
                                 above, fill it in here. Note that the court will send any      here. Note that the court will send any notices to this mailing
                                 notices to you at this mailing address.                        address.

                                 PO Box 405
                                 Spring Park, MN 55384-0405
                                 Number, P.O. Box, Street, City, State & ZIP Code               Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:
     this district to file for                                                                  Check one:
     bankruptcy                        Over the last 180 days before filing this petition, I
                                        have lived in this district longer than in any other            Over the last 180 days before filing this petition, I have
                                        district.                                                        lived in this district longer than in any other district.

                                       I have another reason.                                          I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                                 Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 2
                    Case 17-43213            Doc 1         Filed 10/25/17 Entered 10/25/17 13:06:42                                 Desc Main
                                                             Document     Page 3 of 10
Debtor 1    Driggs, Donald Andrew                                                                         Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form
     Bankruptcy Code you are      2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                     Chapter 7

                                   Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                        about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’  s check, or money order.
                                        If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with a
                                        pre-printed address.
                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay The
                                        Filing Fee in Installments (Official Form 103A).
                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may, but is
                                        not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that applies to
                                        your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out the Application
                                        to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for            No.
     bankruptcy within the last
     8 years?                     Yes.
                                             District    District of Minnesota         When                              Case number       13-42355
                                             District                                  When                              Case number
                                             District                                  When                              Case number



10. Are any bankruptcy cases
    pending or being filed by
                                  No
    a spouse who is not filing     Yes.
    this case with you, or by
    a business partner, or by
    an affiliate?
                                             Debtor                                                                     Relationship to you
                                             District                                  When                             Case number, if known
                                             Debtor                                                                     Relationship to you
                                             District                                  When                             Case number, if known



11. Do you rent your
    residence?
                                  No.         Go to line 12.

                                   Yes.       Has your landlord obtained an eviction judgment against you and do you want to stay in your residence?

                                                       No. Go to line 12.

                                                       Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it with this
                                                        bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 3
                    Case 17-43213               Doc 1        Filed 10/25/17 Entered 10/25/17 13:06:42                                  Desc Main
                                                               Document     Page 4 of 10
Debtor 1    Driggs, Donald Andrew                                                                             Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time        No.         Go to Part 4.
    business?
                                      Yes.       Name and location of business
     A sole proprietorship is a
     business you operate as an                   Name of business, if any
     individual, and is not a
     separate legal entity such as
     a corporation, partnership,
     or LLC.
                                                  Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach it
     to this petition.                            Check the appropriate box to describe your business:
                                                         Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                         Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                         Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                         Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                         None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the                deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are          operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11
    you a small business             U.S.C. 1116(1)(B).
    debtor?
                                      No.        I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
     U.S.C. § 101(51D).              No.         I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                      Yes.       I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any
    property that poses or is
                                     No.
    alleged to pose a threat of       Yes.
    imminent and identifiable                  What is the hazard?
    hazard to public health or
    safety? Or do you own
    any property that needs                    If immediate attention is
    immediate attention?                       needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,               Where is the property?
     or a building that needs
     urgent repairs?
                                                                              Number, Street, City, State & Zip Code




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 4
                    Case 17-43213              Doc 1         Filed 10/25/17 Entered 10/25/17 13:06:42                               Desc Main
                                                               Document     Page 5 of 10
Debtor 1    Driggs, Donald Andrew                                                                         Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                             You must check one:
    you have received a
                                      Icounseling
                                           received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit                             agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a                this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                      completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment plan,           Attach a copy of the certificate and the payment plan, if any,
     credit counseling before you        if any, that you developed with the agency.                      that you developed with the agency.
     file for bankruptcy. You
     must truthfully check one of       I received a briefing from an approved credit                   I received a briefing from an approved credit
     the following choices. If you       counseling agency within the 180 days before I                   counseling agency within the 180 days before I filed
     cannot do so, you are not           filed this bankruptcy petition, but I do not have a              this bankruptcy petition, but I do not have a certificate
     eligible to file.                   certificate of completion.                                       of completion.

     If you file anyway, the court       Within 14 days after you file this bankruptcy petition,          Within 14 days after you file this bankruptcy petition, you
     can dismiss your case, you          you MUST file a copy of the certificate and payment              MUST file a copy of the certificate and payment plan, if any.
     will lose whatever filing fee       plan, if any.
     you paid, and your creditors
     can begin collection               I certify that I asked for credit counseling                    I certify that I asked for credit counseling services
     activities again.                   services from an approved agency, but was                        from an approved agency, but was unable to obtain
                                         unable to obtain those services during the 7                     those services during the 7 days after I made my
                                         days after I made my request, and exigent                        request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                    temporary waiver of the requirement.
                                         of the requirement.
                                                                                                          To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                      attach a separate sheet explaining what efforts you made to
                                         requirement, attach a separate sheet explaining what             obtain the briefing, why you were unable to obtain it before
                                         efforts you made to obtain the briefing, why you were            you filed for bankruptcy, and what exigent circumstances
                                         unable to obtain it before you filed for bankruptcy, and         required you to file this case.
                                         what exigent circumstances required you to file this
                                         case.                                                            Your case may be dismissed if the court is dissatisfied with
                                                                                                          your reasons for not receiving a briefing before you filed for
                                         Your case may be dismissed if the court is                       bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                        If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must            receive a briefing within 30 days after you file. You must file
                                         still receive a briefing within 30 days after you file.          a certificate from the approved agency, along with a copy of
                                         You must file a certificate from the approved agency,            the payment plan you developed, if any. If you do not do so,
                                         along with a copy of the payment plan you developed,             your case may be dismissed.
                                         if any. If you do not do so, your case may be
                                                                                                          Any extension of the 30-day deadline is granted only for
                                         dismissed.
                                                                                                          cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted only
                                         for cause and is limited to a maximum of 15 days.
                                        I am not required to receive a briefing about                   I am not required to receive a briefing about credit
                                         credit counseling because of:                                    counseling because of:

                                               Incapacity.                                                   Incapacity.
                                                I have a mental illness or a mental deficiency                 I have a mental illness or a mental deficiency that
                                                that makes me incapable of realizing or making                 makes me incapable of realizing or making rational
                                                rational decisions about finances.                             decisions about finances.

                                               Disability.                                                   Disability.
                                                My physical disability causes me to be unable                  My physical disability causes me to be unable to
                                                to participate in a briefing in person, by phone,              participate in a briefing in person, by phone, or through
                                                or through the internet, even after I reasonably               the internet, even after I reasonably tried to do so.
                                                tried to do so.

                                               Active duty.                                                  Active duty.
                                                I am currently on active military duty in a                    I am currently on active military duty in a military
                                                military combat zone.                                          combat zone.
                                         If you believe you are not required to receive a briefing        If you believe you are not required to receive a briefing about
                                         about credit counseling, you must file a motion for              credit counseling, you must file a motion for waiver of credit
                                         waiver credit counseling with the court.                         counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 5
                    Case 17-43213             Doc 1         Filed 10/25/17 Entered 10/25/17 13:06:42                                   Desc Main
                                                              Document     Page 6 of 10
Debtor 1    Driggs, Donald Andrew                                                                            Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do          16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C.§ 101(8) as “
                                                                                                                                         incurred by an
    you have?                                individual primarily for a personal, family, or household purpose.”

                                             No. Go to line 16b.
                                              Yes. Go to line 17.
                                   16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain money
                                             for a business or investment or through the operation of the business or investment.
                                              No. Go to line 16c.
                                             Yes. Go to line 17.
                                   16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under
    Chapter 7?
                                   No.      I am not filing under Chapter 7. Go to line 18.


     Do you estimate that after     Yes.    I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses are
     any exempt property is                  paid that funds will be available to distribute to unsecured creditors?
     excluded and
     administrative expenses                  No
     are paid that funds will be
     available for distribution               Yes
     to unsecured creditors?

18. How many Creditors do          1-49                                             1,000-5,000                                 25,001-50,000
    you estimate that you                                                            5001-10,000                                 50,001-100,000
    owe?                            50-99
                                    100-199                                         10,001-25,000                               More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                   $1,000,001 - $10 million                     $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                           $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

20. How much do you                 $0 - $50,000                                   $1,000,001 - $10 million                     $500,000,001 - $1 billion
    estimate your liabilities to    $50,001 - $100,000                                                                           $1,000,000,001 - $10 billion
    be?                                                                              $10,000,001 - $50 million
                                    $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

Part 7:    Sign Below

For you                            I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11, United
                                   States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this document, I
                                   have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                   I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a bankruptcy
                                   case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.
                                   /s/ Donald Driggs
                                   Donald Andrew Driggs                                               Signature of Debtor 2
                                   Signature of Debtor 1

                                   Executed on      October 25, 2017                                  Executed on
                                                    MM / DD / YYYY                                                     MM / DD / YYYY




Official Form 101                                Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 6
                    Case 17-43213              Doc 1         Filed 10/25/17 Entered 10/25/17 13:06:42                                 Desc Main
                                                               Document     Page 7 of 10
Debtor 1   Driggs, Donald Andrew                                                                             Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed under
represented by one              Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter for which the
                                person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in
If you are not represented by   which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the schedules filed with the
an attorney, you do not need    petition is incorrect.
to file this page.
                                /s/ Joseph Dicker                                                     Date         October 25, 2017
                                Signature of Attorney for Debtor                                                   MM / DD / YYYY

                                Joseph Dicker
                                Printed name

                                Joseph W. Dicker, P.A.
                                Firm name


                                1406 W Lake St Ste 209
                                Minneapolis, MN 55408-2653
                                Number, Street, City, State & ZIP Code

                                Contact phone                                                   Email address         joe@joedickerlaw.com
                                158264
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 7
                       Case 17-43213            Doc 1             Filed 10/25/17 Entered 10/25/17 13:06:42                                    Desc Main
                                                                    Document     Page 8 of 10

 Fill in this information to identify your case:

 Debtor 1                     Donald Andrew Driggs
                              First Name                  Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)          First Name                  Middle Name                      Last Name


 United States Bankruptcy Court for the:            DISTRICT OF MINNESOTA, MINNEAPOLIS DIVISION

 Case number
 (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                   amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person in
control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a sole
proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate collateral
value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                                  Unsecured claim
 1                                                                What is the nature of the claim?                                                $ $184.57
              CENTERPOINT ENERGY
              PO Box 4671                                         As of the date you file, the claim is: Check all that apply
              Houston, TX 77210-4671                                      Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                          No
              Contact                                                     Yes. Total claim (secured and unsecured)                  $
                                                                                 Value of security:                                 -$
              Contact phone                                                      Unsecured claim                                     $


 2                                                                What is the nature of the claim?                                                $ $1,200.00
              City of Orono
              2750 Kelley Pkwy                                    As of the date you file, the claim is: Check all that apply
              Orono, MN 55356-9387                                        Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                          No
              Contact                                                     Yes. Total claim (secured and unsecured)                  $
                                                                                 Value of security:                                 -$
              Contact phone                                                      Unsecured claim                                     $


B104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                              Page 1

Software Copyright (c) 1996-2017 CIN Group - www.cincompass.com
                  Case 17-43213                 Doc 1             Filed 10/25/17 Entered 10/25/17 13:06:42                                    Desc Main
                                                                    Document     Page 9 of 10

 Debtor 1          Driggs, Donald Andrew                                                            Case number (if known)




 3                                                                What is the nature of the claim?                                             $ $20,000.00
            George Norling
            PO Box 361                                            As of the date you file, the claim is: Check all that apply
            Spring Park, MN 55384-0361                                    Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                          No
            Contact                                                       Yes. Total claim (secured and unsecured)                  $
                                                                                 Value of security:                                 -$
            Contact phone                                                        Unsecured claim                                     $


 4                                                                What is the nature of the claim?                                             $ $283,196.97
            Nationastar Mortgage
            PO Box 650783                                         As of the date you file, the claim is: Check all that apply
            Dallas, TX 75265-0783                                         Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                          No
            Contact                                                       Yes. Total claim (secured and unsecured)                   $ $366,223.59
                                                                                 Value of security:                                 - $ $1,100,000.00
            Contact phone                                                        Unsecured claim                                      $ $283,196.97


 5                                                                What is the nature of the claim?                                             $ $1,040.48
            XCEL ENERGY
            PO Box 9477                                           As of the date you file, the claim is: Check all that apply
            Minneapolis, MN 55484-0001                                    Contingent
                                                                          Unliquidated
                                                                          Disputed
                                                                          None of the above apply

                                                                  Does the creditor have a lien on your property?

                                                                          No
            Contact                                                       Yes. Total claim (secured and unsecured)                  $
                                                                                 Value of security:                                 -$
            Contact phone                                                        Unsecured claim                                     $


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Donald Driggs                                                               X
       Donald Andrew Driggs                                                                Signature of Debtor 2
       Signature of Debtor 1


       Date      October 25, 2017                                                          Date


B 104 (Official Form 104)                       For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                    Page 2

Software Copyright (c) 1996-2014 CIN Group - www.cincompass.com
                  Case 17-43213                 Doc 1             Filed 10/25/17 Entered 10/25/17 13:06:42                                    Desc Main
                                                                   Document     Page 10 of 10

 Debtor 1          Driggs, Donald Andrew                                                            Case number (if known)




B 104 (Official Form 104)                       For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims               Page 3

Software Copyright (c) 1996-2014 CIN Group - www.cincompass.com
